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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

TERESA BLOODMAN, PARENT AND NATURAL GUARDIAN OF
JOHN DOE, A MINOR CHILD                         PLAINTIFF

V.                             CASE NUMBER: 4:11-CV-00818-JMM

DR. TOM KIMBRELL, ARKANSAS DEPARTMENT OF EDUCATION,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
DR. JERRY GUESS, SUPERINTENDENT, PULASKI COUNTY SPECIAL
SCHOOL DISTRICT, INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
DR. TAMEKA BROWN, PRINCIPAL, MAUMELLE HIGH SCHOOL
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
MICHAEL SHOOK, COACH, MAUMELLE HIGH SCHOOL, INDIVIDUALLY
NAMED AND OFFICIAL CAPACITY;
GROVER GARRISON, COACH, MAUMELLE HIGH SCHOOL,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY;
SHERMAN COX, ATHLETIC DIRECTOR, MAUMELLE HIGH SCHOOL,
INDIVIDUALLY NAMED AND OFFICIAL CAPACITY         DEFENDANTS

                        MOTION FOR RECONSIDERATION


       Comes now the Plaintiffs, pro se, and for their motion states:

       1.      That on April 25, 2012, separate defendants Brown, Shook, Garrison and

Cox filed a Motion for Protective Order. (Docket Entry 53)

       2.      That the time to respond to said motion would have been May 9, 2012 at

12:00 midnight.

       3.      That the Court entered an Order on May 9, 2012 at 9:59 a.m., eliminating

Plaintiffs’ right to respond to Defendants’ motion which Plaintiffs’ verily believe the

Defendants are not entitled to especially given the fact that the Plaintiffs have not been

given the opportunity to respond. (Docket Entry 60)

       4.      That Plaintiffs have since filed a Response and Brief in Opposition to said

motion even though a decision was rendered. (Docket Entries 61 and 62)

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        5.      That this motion is not frivolous, but it is filed for the purpose of assuring

that the Plaintiffs are afforded the justice they are entitled.

        WHEREFORE, the Plaintiffs pray that this court reconsider its Order requested

by the Defendant in this matter and for all other proper and just relief.




                                                        Respectfully submitted,


                                                        /s/ Teresa Bloodman____________
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                              CERTIFICATE OF SERVICE



I, Teresa Bloodman, hereby certify that on this 9th day of May 2012, I electronically filed
the foregoing with the Clerk of Court using the CM/ECF System, which will send
notification of such filing to all CM/ECF participating counsel of record listed below; and
I further certify that I have mailed the document, via U.S. Mail, postage prepaid, to all
non CM/ECF participants listed below:

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                                         /s/Teresa Bloodman




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